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               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         WESTERN DIVISION


UNITED STATES OF AMERICA                                           RESPONDENT

VERSUS                                      CIVIL ACTION NO. 5:06cv16DCB
                                          CRIMINAL ACTION NO. 5:01cr26DCB

JOHN L. WILLIAMS, JR                                               PETITIONER

                    MEMORANDUM OPINION AND ORDER

     This matter comes before the Court on Petitioner John L.

Williams, Jr.’s Motion to Reduce Sentence [docket entry no. 59],

Motion to Elect [docket entry no. 70], and Motion to Vacate Under

28 U.S.C. § 2255   [criminal docket entry no. 71; civil docket entry

no. 1].   Having reviewed the Motions, Briefs, Response, applicable

statutory and case law, and being otherwise fully advised as to the

premises, the Court finds as follows:

                                 FACTS

     At the conclusion of a high speed chase in 1998, Sharkey

County, Mississippi Deputy John L. Williams, Jr. intentionally

fired upon and struck the fleeing victim.             At the time of the

shooting, Victim Adam Hall was unarmed and had raised his hands in

surrender.   On June 24, 2002, Williams was convicted of violating

18 U.S.C. § 242, Deprivation of Rights Under Color of State Law,

and 18 U.S.C. § 924(c)(1)(A), Discharge of a Firearm During and in

Relation to a Crime of Violence.         The petitioner was sentenced to

138 months of confinement.      Having exhausted his direct appeals,

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Williams now moves for a reduction of his sentence pursuant to 28

U.S.C. § 2255.1    Williams claims that his conviction and sentence

were unconstitutional for three reasons: (1) Williams argues that

he had a right to shoot the victim because the victim was a fleeing

felon, (2) Williams claims that the Court excluded him from in

camera proceedings, and (3) Williams alleges that the prosecutor

suborned the perjury of two fact witnesses, Officer Robert Earl

Barfield and Victim Adam Hall. Each argument will be considered in

turn.

                               DISCUSSION

I.   The Right to Use Deadly Force to Apprehend a Fleeing Felon

     In his petition, Williams argues that he was denied due

process because his “action of shooting Mr. Adam Hall [was] still

within the defendant’s official job safety duty on the phase of

apprehending a run-away criminal and also, this felon Mr. Adam

first struck the defendant to the rock when defendant was trying to

arrest him lawfully.” [sic] (M. Reduce Sentence, 7.)               Whether a

police officer’s shooting of a fleeing felon is justified is


        1
      The petitioner’s Motion to Reduce Sentence was not originally
designated as a 28 U.S.C. § 2255 motion. On January 12, 2006, the
Court ordered Williams to clarify whether he intended to file a §
2255 motion when he filed his Motion to Reduce Sentence. In his
January 31, 2006 Motion to Elect [docket entry no. 70], the
petitioner informed the Court that he had intended to proceed
pursuant to § 2255.    Then, on February 7, 2006, the petitioner
refiled his Motion to Elect, which was docketed as a Motion to
Vacate Sentence [docket entry no. 71, civil docket entry no. 1].
The substance of the petitioner’s § 2255 motion is found in his
Motion to Reduce Sentence [docket entry no. 59].

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governed by the Fourth Amendment’s reasonableness standard.                  See

Brosseau v. Haugen, 543 U.S. 194 (2004), citing Graham v. Garner,

471   U.S.   386,   388   (1989).    Reasonableness      under    the   Fourth

Amendment is a question of law.       Bazan v. Hidalgo County, 246 F.3d

481, 490 (5th Cir. 2001).       On Williams’s direct appeal, the Fifth

Circuit determined that there was ample evidence to support the

jury’s finding that the shooting was unreasonable.                See United

States v. Williams, 343 F.3d 423, 435-36 (5th Cir. 2003). Inasmuch

as “it is firmly established that an issue disposed of on a prior

appeal will not be reviewed again by way of [a § 2255] motion,” the

petitioner’s argument must be dismissed. Dirring v. United States,

370 F.2d 862, 864 (1st Cir. 1967), cited in Ugarte-Veizaga v.

United States, 452 F.2d 1194, 1195 (5th Cir. 1972).

II.   The Court’s Alleged Exclusion of Williams from In Camera
      Proceedings


      Williams claims that he was denied his “due process right to

attend the in camera proceedings.”         (M. Reduce Sentence, 8.)          At

trial the Court explicitly informed the petitioner that he had a

right to attend all proceedings, including those at sidebar and in

chambers.    Moreover, the Court explained to the petitioner that if

he elected not to be present at such proceedings, he would be

deemed to have waived his presence.             A review of the record

indicates that at each in camera hearing, either the petitioner was

present or waived his presence.        There were four instances during


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Williams’s trial where the Court held a hearing outside of the

jury’s presence.      Three times, the defendant was present.2                 The

only hearing held without the petitioner was a short motion in

limine hearing which was held before opening arguments.                (See R.

5.)   Williams was represented by counsel at the hearing, and his

counsel did not object to Williams’s absence.

      A criminal defendant “has a due process right to be present at

a[n in camera] proceeding ‘whenever his presence has a relation,

reasonably substantial, to the fulness of his opportunity to defend

against the charge . . . [T]he presence of a defendant is a

condition of due process to the extent that a fair and just hearing

would be thwarted by his absence, and to that extent only.’” United

States v. Gagnon, 470 U.S. 552, 525-26 (1985) (per curiam) (quoting

Snyder v. Massachusetts, 291 U.S. 97, 105-06 (1934); see also

Kentucky    v. Stincer,    482   U.S.   730,    747   (1987) (holding         that

defendant’s absence did not violate Due Process Clause because

defendant failed     to   show   that   his    presence   “would    have      been

useful”).    At trial, the petitioner was represented by two very

capable, seasoned attorneys.        Williams does not dispute that at

each in camera proceeding held by the Court, at least one of his

attorneys was present.         Likewise, the petitioner does not argue

that his attorneys failed to adequately represent his interests

during those hearings.         Since the petitioner has failed to show


      2
       (See R. at 283, 494, 517.)

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that his absence resulted in the denial of a fair and just hearing,

the Due Process Clause of the Fifth Amendment is not implicated.

      Moreover, even if the Due Process Clause was applicable to the

petitioner,    Williams    waived   his    right   to    be   present    at   the

hearings.     The record clearly reflects that the defendant waived

his right to be present while the motions in limine were being

argued.   (R. at 5.)    A criminal defendant may waive his right to be

present by his voluntary absence.             Gagnon, 470 U.S. at 528.

Accordingly, a defendant’s waiver of his right to attend does not

have to be expressly made on the record.                Id.   Inasmuch as the

petitioner was advised of his right to be present at all in camera

hearings and that his absence would be deemed a knowing and

voluntary waiver, Williams cannot now claim that he was deprived of

due process by his voluntary absence from a pretrial motion in

limine hearing.

III. The Alleged Subornation of Perjury by the Prosecution

      Williams claims that the government suborned the perjury of

two   fact    witnesses    who   testified     against        him   at   trial.

Specifically, the petitioner alleges that the government promised

co-defendant Deputy Robert Earl Barfield that if he would testify

falsely against Williams, Barfield would be sentenced to house

arrest rather than jail time.3       In addition, the petitioner claims


      3
      After the shooting, Deputy Barfield repeatedly kicked the
victim. Deputy Barfield was charged with violating 18 U.S.C. §
242.

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that the government promised Victim Adam Hall that if he would

perjure himself at Williams’s trial, the government would “not

bring up any charge against him.” [sic]           (M. Reduce Sentence, 5.)

     “[A] conviction obtained by the knowing use of perjured

testimony is fundamentally unfair, and must be set aside if there

is any reasonable likelihood that the false testimony could have

affected the judgment of the jury.”            United States v. Agurs, 427

U.S. 97, 103 (1976).       For his sentence to be vacated due to the use

of perjured testimony against him, the petitioner must show that:

(1) the testimony was false, (2) the testimony was material, and

(3) the prosecution knew that the testimony was false.                    United

States v. Blackburn, 9 F.3d 353, 357 (5th Cir. 1993).                  The mere

existence of “conflicting or inconsistent testimony is insufficient

to establish perjury.”       Kutzner v. Johnson, 242 F.3d 605, 609 (5th

Cir. 2001).

     Williams     has   offered    no     evidence   to   support     his      bald

allegations      of   government    suborned    perjury.         Instead,      the

petitioner relies solely on his conclusory statements that Deputy

Barfield   and    Victim   Hall    perjured    themselves.       He   does     not

challenge the testimony of Chief Billings, Betty Hall, or Allen

Windom. These three witnesses, consistent with Deputy Barfield and

Victim Hall, testified that the petitioner fired upon Hall while

Hall was standing still with his hands above his head.                 As such,

either all of the witnesses gave perjured testimony, or none of the


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witnesses perjured themselves.          Since the petitioner has failed to

provide   any    evidence    of    false      testimony    or   the    government’s

knowledge of that alleged false testimony, his claim of government

suborned perjury is insufficient under Blackburn and Kutzner.

Moreover, since the petitioner failed to offer any proof of his

claims,   he    is   not   entitled    to     an   evidentiary       hearing.       See

Smallwood v. Johnson, 73 F.3d 1343, 1351 (5th Cir. 1996) (holding

that mere conclusory allegations of equal protection violations did

not warrant evidentiary hearing); Taylor v. Maggio, 581 F. Supp.

359, 363 (D.C. La. 1984) (“mere naked charges without some rational

basis in supportive fact are not enough” to warrant an evidentiary

hearing).

                                   CONCLUSION

     Since Williams’s argument that he was justified in shooting

Adam Hall was disposed of by the Fifth Circuit on Williams’s direct

appeal, it cannot be reviewed again as part of a § 2255 motion.

Inasmuch as the petitioner waived his attendance to the in camera

pretrial motion in limine hearing, he was not deprived of due

process by his absence.        Lastly, since Williams failed to provide

any evidence to support his contention that the government suborned

perjury from two fact witnesses, his subornation claim must be

dismissed.      Accordingly,

     IT IS HEREBY ORDERED that the petitioner’s Motion to Reduce

Sentence [docket entry no. 59] is DENIED.


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     IT IS FURTHER ORDERED that the petitioner’s Motion to Elect

[docket entry no. 70] is GRANTED.

     IT IS FURTHER ORDERED that the petitioner’s Motion to Vacate

Under 28 U.S.C. § 2255 [criminal docket entry no. 71; civil docket

entry no. 1] is DISMISSED WITH PREJUDICE.

     A separate judgment will be entered by the Court in accordance

with Rule 58 of the Federal Rules of Civil Procedure.

     SO ORDERED, this the 1st day of December, 2006.


                                         S/DAVID BRAMLETTE
                                         UNITED STATES DISTRICT JUDGE




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